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P|aintiff

VS.
CR. NO. 05-20071-D

TONY W|LL|AMS

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FYING PERIOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on July 21, 2005. At that time, counsel forthe
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a
re ort date of Thursda Se tember 22 2005 at 9:00 a.m.. in Courtroom 3. 9th F|oor

 

of the Federal Bui|dingl Memphis, TN.

The period from August 12, 2005 through October 14, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

|T lS SO ORDERED this a?-$' day Of July, 2005.

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UNITED sATE DISTRICT COURT - WTERN DISTRCT OFTENNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

